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21   Trust of William C. Dietrich and Ivanna S.
     Dietrich)
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 7                                             Child’s Trust FBO Paul S. Dietrich, a subtrust
                                               under the Trust of William C. Dietrich and
 8                                             Ivanna S. Dietrich; John Alsop (individually
                                               and as trustee of the John G. Alsop Living
 9                                             Trust), Nancy Roberts (individually and as
                                               trustee of the Nancy C. Roberts Living Trust),
10                                             Janet Zanardi (individually and as trustee of
                                               Trust A under the Zanardi Revocable Trust)
11
                                 UNITED STATES DISTRICT COURT
12
                            EASTERN DISTRICT OF CALIFORNIA
13
                                                Case No. 2:23-cv-00927-TLN-AC
14   FLANNERY ASSOCIATES LLC,
                                                DEFENDANTS’ JOINT REPLY IN
15                  Plaintiff,                  SUPPORT OF MOTION TO DISMISS
                                                PLAINTIFF’S COMPLAINT
16        vs.                                   PURSUANT TO FED. R. CIV. P. 12(b)(6)
17   BARNES FAMILY RANCH ASSOCIATES,
     LLC, LAMBIE RANCH ASSOCIATES, LLC,
18   KIRBY HILL ASSOCIATES, LLC, BARNES
     FAMILY RANCH CORPORATION, LAMBIE           Date:         August 24, 2023
19   RANCH CORPORATION, KIRBY HILL              Time:         2:00 p.m.
     CORPORATION, KIRK BEEBE, SUSAN             Dept.:        Courtroom 2, 15th Floor
20   BEEBE FURAY, MURRAY BANKHEAD               Before:       Hon. Troy L. Nunley
     (INDIVIDUALLY AND AS TRUSTEE FOR
21   THE BAUMBACH FAMILY TRUST),                Trial Date:   None Set
     MICHAEL RICE (INDIVIDUALLY AND AS
22   TRUSTEE FOR THE RICE FAMILY TRUST);
     CHRISTINE MAHONEY LIMITED
23   PARTNERSHIP, CHRISTINE MAHONEY
     LIMITED PARTNERSHIP MANAGEMENT
24   COMPANY, EMIGH LAND LP, EL
     GENERAL PARTNER, LLC, CHRISTINE
25   MAHONEY (INDIVIDUALLY AND AS
     TRUSTEE OF
26

27   THE MAHONEY 2005 FAMILY TRUST),
     DANIEL MAHONEY (INDIVIDUALLY AND
28   AS TRUSTEE OF THE MAHONEY 2005
     FAMILY TRUST);

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     IAN ANDERSON (INDIVIDUALLY AND AS
 1   TRUSTEE OF THE IAN AND MARGARET
     ANDERSON FAMILY TRUST), MARGARET
 2   ANDERSON (INDIVIDUALLY AND AS
     TRUSTEE OF THE IAN AND MARGARET
 3   ANDERSON FAMILY TRUST), NEIL
     ANDERSON, MARYN ANDERSON,
 4   WILLIAM DIETRICH (INDIVIDUALLY
     AND AS TRUSTEE OF THE CHILD’S
 5   TRUST FBO WILLIAM C. DIETRICH, A
     SUBTRUST UNDER THE TRUST OF
 6   WILLIAM C. DIETRICH AND IVANNA S.
     DIETRICH), PAUL DIETRICH
 7   (INDIVIDUALLY AND AS TRUSTEE OF
     THE CHILD’S TRUST FBO PAUL S.
 8   DIETRICH, A SUBTRUST UNDER THE
     TRUST OF WILLIAM C. DIETRICH AND
 9   IVANNA S. DIETRICH), JOHN ALSOP
     (INDIVIDUALLY AND AS TRUSTEE OF
10   THE JOHN G. ALSOP LIVING TRUST),
     NANCY ROBERTS (INDIVIDUALLY AND
11   AS TRUSTEE OF THE NANCY C. ROBERTS
     LIVING TRUST), JANET ZANARDI
12   (INDIVIDUALLY AND AS TRUSTEE OF
     TRUST A UNDER THE ZANARDI
13   REVOCABLE TRUST), RONALD GURULE
     (INDIVIDUALLY AND AS TRUSTEE OF
14   THE RONALD GURULE 2013 FAMILY
     TRUST), RICHARD ANDERSON
15   (INDIVIDUALLY AND AS TRUSTEE OF
     THE REA PROPERTIES TRUST), DAVID
16   ANDERSON (INDIVIDUALLY AND AS
     TRUSTEE OF THE IRWIN E. ANDERSON
17   SURVIVOR’S TRUST), DEBORAH
     WORKMAN (INDIVIDUALLY AND AS
18   TRUSTEE OF THE IRWIN E. ANDERSON
     SURVIVOR’S TRUST), CAROL HOFFMAN
19   (INDIVIDUALLY AND AS TRUSTEE OF
     THE IRWIN E. ANDERSON SURVIVOR’S
20   TRUST), NED ANDERSON
     (INDIVIDUALLY AND AS TRUSTEE OF
21   THE NED KIRBY ANDERSON TRUST),
     NEIL ANDERSON, GLENN ANDERSON,
22   JANET BLEGEN (INDIVIDUALLY AND AS
     TRUSTEE OF THE JANET ELIZABETH
23   BLEGEN SEPARATE PROPERTY TRUST),
     ROBERT ANDERSON (INDIVIDUALLY
24   AND AS TRUSTEE OF THE ROBERT TODD

25   ANDERSON LIVING TRUST), STAN
     ANDERSON, LYNNE MAHRE, SHARON
26   TOTMAN, AMBER BAUMAN,
     CHRISTOPHER WYCOFF;
27   AND JOHN DOES 1-50,

28                  Defendant.



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 1   I.     INTRODUCTION

 2          As Defendants’ opening brief established, Flannery fails to plead facts sufficient to

 3   support an inference that any—let alone all—of the Defendants participated in any price-fixing

 4   agreement. Flannery lacks antitrust standing due to the necessarily indirect and speculative

 5   nature of its alleged antitrust injuries. In response, Flannery mischaracterizes the case law and

 6   asks the Court to drastically expand the Sherman Act’s reach. To begin, Flannery incorrectly

 7   contends that the Sherman Act applies to real estate and prevents landowners from engaging in

 8   parallel negotiations. As explained below, the Sherman Act was not intended to prevent local

 9   landowners from discussing with their neighbors negotiations with prospective purchasers or

10   property prices. Next, Flannery falsely asserts that its vague allegations of parallel conduct,

11   shared interests or family connections are sufficient “plus factors” to support an inference that all

12   Defendants agreed to and engaged in a price-fixing agreement. Then, Flannery wrongly assumes

13   that Defendants are participants in a market. Not all Defendants irrevocably wished to sell, or

14   would have offered to sell their land at some unspecified lower price, such that Flannery could

15   establish antitrust injury and standing. Far from being an intended beneficiary of the Sherman

16   Act, Flannery admits that it seeks monopolistic landholdings. Flannery’s complaint is a square

17   peg in the round hole of antitrust law. The legal theories it advances do not lie, and there is no

18   amendment that can cure Flannery’s defective premise.

19   II.    LEGAL ARGUMENT

20          A.      The Sherman Act Does Not Govern Unique Real Property Transactions

21          The Sherman Act does not apply to individual landowners’ sales of unique real property.

22   Dkt. 78 at 10 (“Mot.”). Flannery erroneously claims W. Sunview Props., LLC v. Federman, 338

23   F. Supp. 2d 1106 (D. Haw. 2004) and Souza v. Est. of Bishop, 594 F. Supp. 1480 (D. Haw.

24   1984), aff’d, 821 F.2d 1332 (9th Cir. 1987) only analyzed Hawaii’s antitrust statute. In Souza, the

25   Court expressed skepticism that the Sherman Act could apply to land. Id. at 1482 n.2. Even

26   assuming it did apply, the Court still held that “The Sherman Act…does not regulate the price

27   between an owner and a buyer.” Id. at 1484 (emphasis added). The court found the landowners’

28   decision to either sell or lease their land could not be anticompetitive because “the actions of the


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 1   Bishop Estate did not in any way infringe on the capacity of other landowners to do as they

 2   wished with their own land.” Id. “An owner of land…may charge for it what he will or withhold

 3   it from the market if he so desires. He is under no compulsion to use the land for the public

 4   benefit or sell it at a price that someone can afford to pay.” Id. at 1483. Likewise, W. Sunview

 5   Props., LLC, held that “the purchase of real estate by an individual owner cannot be considered a

 6   business under the Hawai’i statute, pursuant to Ninth Circuit law on the subject.” 338 F. Supp.

 7   2d at 1124 (citing Moore v. Jas. H. Matthews & Co., 550 F.2d 1207, 1214 (9th Cir. 1977) (the

 8   word “commodity” within Section 3 of the Sherman Act does not include cemetery lots).) Both

 9   Souza and W. Sunview Props. confirm the Sherman Act and Hawaii’s statute do not purport to

10   regulate the purchase of real property.

11           Flannery’s cited cases are irrelevant because they simply confirm the Sherman Act may

12   apply to conspiracies tangentially involving real property when the real property is directly tied

13   to some other independent anti-competitive commercial activity.1 Here, Defendants are mere

14   landowners not in the business or trade of buying and selling real estate, and thus are not

15   competitors like the brokers or landlords in Flannery’s authorities.2 At bottom, Plaintiff cannot

16   identify a single case applying the Sherman Act to landowners and the sale of their property.

17           B.      The Complaint Deficiently Alleges a Horizontal Price-Fixing Agreement

18                   1.       Flannery fails to allege a horizontal price-fixing agreement

19           As detailed in Defendants’ opening brief, Flannery’s Complaint offers no allegations

20   plausibly suggesting the existence of a price-fixing conspiracy because Flannery fails to allege

21   the required elements of any such agreement. Mot. at 8-10. The Complaint fails to allege that any

22   of the Defendants agreed to establish a minimum price below which Defendants would not sell

23   1 Fisher v. City of Berkeley, 475 U.S. 260, 266 (1986) (dicta that rent setting by landlords, even if

     benevolent, would still violate antitrust statutes); McLain v. Real Est. Bd. of New Orleans, Inc., 444 U.S.
24
     232, 235 (1980) (challenging brokers’ “systematic use of fixed commission rates, widespread fee
     splitting, suppression of market information useful to buyers and sellers…”); Cont. Buyers League v. F &
25
     F Inv., 300 F. Supp. 210, 215-17 (N.D. Ill. 1969), aff’d, 420 F.2d 1191 (7th Cir. 1970)(challenging
     anticompetitive effects of racial “blockbusting” by real estate investment firm); United States v. Joyce,
26
     895 F.3d 673, 677 (9th Cir. 2018) (bid-rigging at auctions on foreclosed real estate constitutes per se
     horizontal price-fixing agreement).
27
     2 Flannery’s novel and expansive interpretation of the Sherman Act would prohibit prospective local sellers

28   from conducting basic due diligence, such as speaking to other community members to investigate if they are
     being taken advantage of, particularly when Flannery’s identity and intentions are unknown.

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 1   their land (and any such agreement would have been impossible, both because land is by nature

 2   unique and because significant ancillary terms differed amongst the various involved properties).

 3   Moreover, the Complaint does not (and cannot) allege that any of the Defendants agreed to

 4   restrict “production” of the land that Flannery wished to purchase. Unable to allege any plausible

 5   price-fixing agreement, Flannery’s Opposition instead relies on inapplicable authority and vague,

 6   conclusory allegations that fail to satisfy Twombly.

 7          First, Flannery asserts that Defendants agreed “to only sell their properties at artificially

 8   high and supracompetitive levels.” Opp. at 6 (citing Compl. ¶ 317). This is absurd as Flannery

 9   itself emphasizes that it offered prices to Defendants so far above market value that it was

10   effectively the only potential buyer. See, e.g., Compl. ¶¶ 170-174, 274. Having already sold or

11   declined to sell at the artificially high prices offered by Flannery, Defendants had no need to

12   conspire because Flannery kept raising its offers on its own. Nor do the cases Plaintiff cites

13   support its position. See In re Text Messaging Antitrust Litig., 630 F.3d 622 (7th Cir. 2010) (four

14   competitors controlling 90% of nationwide text messages simultaneously changed their pricing

15   structures to reflect identical increased prices despite declining costs); B & R Supermarket, Inc.

16   v. Visa, Inc., 2016 WL 5725010, at *6 (N.D. Cal. Sept. 30, 2016) (MasterCard official

17   announced awareness that Visa, American Express, and Discover would implement the same

18   pricing policy as MasterCard and they did on the same day); see also Palmer v. BRG of Georgia,

19   Inc., 498 U.S. 46 (1990) (competitors agreed to not compete in the same territories).

20          Second, Flannery repeatedly relies on a single 2022 text message from non-defendant

21   Richard Hamilton to now-settled defendant Kirk Beebe that “the remaining property owners

22   should be in agreement on what we would want to sell our properties.” Opp. at 4, 7. But this text

23   does not demonstrate that these individuals (neither of whom are moving Defendants) ever

24   reached any agreement. And Flannery’s allegations of widely-divergent terms of concluded and

25   offered transactions show that there was no agreement. The only plausible reading of this text,

26   sent because “[Flannery attorney] Melnyk is bulling the last of the property owners” (Dkt. 1, Ex.

27   A), is that these landowners should consider an agreement to keep each other informed as to the

28   prices they might find acceptable for their unique parcels of land (in the face of Flannery’s


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 1   mysterious voracity). As confirmed by Flannery’s own cited legal authority, providing price

 2   information to permit conscious parallelism is neither illegal nor sufficient to support a

 3   conclusion that an illegal agreement was reached. B & R Supermarket, 2016 WL 57250150, at

 4   *5. In any case, property sales and prices are public record.

 5           Third, Flannery fails to rebut that the “smoking gun” evidence, ostensibly supporting a

 6   conspiracy starting in 2018, dates from 2022. Unlike the authority Flannery cites, in which later-

 7   in-time communications rationally supported an inference that the conspiracy had begun earlier

 8   (Opp. at 8), here, by contrast, the cited evidence suggests, at most, that Defendants might enter

 9   an agreement in the future. See e.g., Dkt. 1, Ex. A (owners “should” reach agreement on prices

10   for which they “would” sell). This does not plausibly demonstrate a conspiracy at or before

11   2022.

12                    2.      The alleged “plus factors” do not establish circumstantial evidence

13           Flannery alleges that “plus factors” are circumstantial evidence that competitors agreed to

14   fix prices. None of the “plus factors” support Flannery’s position. On a motion to dismiss, the

15   Court must follow the rule that “[a]llegations of facts that could just as easily suggest rational,

16   legal business behavior by the defendants as they could suggest an illegal conspiracy are

17   insufficient to plead a §1 violation.” In re Musical Instruments and Equip. Antitrust Litig., 798

18   F.3d 1186, 1194 (9th Cir. 2015) (citations and internal quotations omitted).

19           Defendants are not competitors. Each “plus factor” cited assumes that Defendants are

20   competitors. The circumstances alleged in the complaint (unique negotiations for unique pieces

21   of real estate) show they are not. Defendants are not seeking to sell the same thing to Flannery in

22   a competition where they try to prevail over other sellers. In fact, Flannery alleges that it has a

23   bottomless, deep pocket to pay whatever needs to be paid to acquire all the land it wants.3

24           Suspicious Communications. These statements relied on by Flannery are not a “plus

25
     3 Flannery also assumes—without citation to any authority—that Defendants were obligated to compete

26   with each other to gain Flannery’s favor. Yet “the Sherman Act imposes no duty on firms to compete
     vigorously, or for that matter at all, in price.” In re Text Messaging Antitrust Litigation, 782 F.3d at 874.
27   Defendants’ opening brief cites authority establishing that a landowner in California has the right to sell
     or not sell as he or she sees fit. Flannery dismisses these authorities as “not antitrust cases.” This misses
28   the point: Flannery assumes that Defendants were obligated to sell their properties and that the refusal to
     do so is inherently suspicious. Basic California property law disproves that assumption.

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 1   factor” for the same reasons they are not direct evidence of an agreement. Mot. at 8.

 2          Common Motive. Flannery claims all Defendants had the common motive to “to drive

 3   up prices.” This proves both too little and too much. First, it assumes that all Defendants were

 4   willing sellers, and disregards that some Defendants wanted to keep their land, as is their right.

 5   Complaint, ¶ 16. Moreover, every seller presumably wants the best price for what it sells. This

 6   plus factor would apply to every commercial transaction. Flannery cites no authority that

 7   prospective sellers’ desire to maximize their sales prices is a legitimate plus factor. “Allegations

 8   of parallel conduct—though recast as common motive—is insufficient to plead a §1 violation.”

 9   In re Musical Instruments, 798 F.3d at 1195.

10          Actions Against Self-Interest. Flannery asserts that Defendants “acted against self-

11   interest” by rejecting Flannery’s lucrative offers. For this conduct to constitute a plus factor,

12   Flannery must show that “defendants’ behavior would not be reasonable or explicable (i.e., not

13   in their legitimate economic self-interest) if they were not conspiring to fix prices…” City of

14   Tuscaloosa v. Harcros Chems., Inc., 158 F.3d 548, 572 (11th Cir. 1998). Flannery fails this test.

15   First, it again assumes that Defendants were obligated to sell when given a lucrative offer and

16   ignores that some Defendants may have wanted to keep their land. Second, that some Defendants

17   who wanted to sell may have sat back and waited while Flannery repeatedly raised its offers is

18   equally consistent with an individual seller seeking to maximize its price. Complaint, ¶¶ 169-174

19   (describing Flannery’s practice of unilaterally and repeatedly raising its offering prices).

20          Opportunities to Collude. This plus factor is innuendo, not fact. It demonizes the

21   happenstance of family membership or home address, all without ever alleging any facts

22   showing that misconduct ever occurred. The mere existence of a climate in which a conspiracy

23   might be formed is not enough. Venture Tech., Inc. v. Nat’l Fuel Gas Co., 685 F.2d 41, 47 (2d

24   Cir. 1982). Flannery fails here because its argument leaves the Court with an equally plausible

25   inference of conduct not rising to the level of an agreement among Defendants. In re Musical

26   Instruments, 798 F.3d at 1194.

27          Information Exchanges. Next, Flannery claims Defendants engaged in improper

28   information exchanges, presumably telling each other about Flannery’s negotiation strategy. This


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 1   conduct—even if it occurred—falls short of the standard to make it a relevant plus factor. First,

 2   all property sales and prices paid are public information, available on various online platforms.

 3   Second, Flannery alleges Defendants committed a per se antitrust violation. Long settled law

 4   establishes that “the dissemination of price information is not itself a per se violation of the

 5   Sherman Act.” United States v. Citizens and S. Nat’l Bank, 422 U.S. 86, 113 (1975). Flannery

 6   alleges that it aggressively campaigned to acquire as much property as possible in Solano

 7   County. That landowners (and the media and the U.S. government) may have discussed this fact

 8   and Flannery’s proven strategy of raising the prices it offers when landowners push back, proves

 9   nothing. United States v. United States Gypsum Co., 438 U.S. 422, 441 n.16 (1978) (“The

10   exchange of price data and other information among competitors does not invariably have

11   anticompetitive effects; indeed such practices can in certain circumstances increase economic

12   efficiency and render markets more, rather than less, competitive.”).

13           Cumulative consideration. Finally, Flannery argues that even if the individual “plus

14   factors” are not enough, the Court should consider the cumulative effect of everything that is

15   alleged. That does nothing here. Flannery’s analysis is legally flawed, because it presumes

16   Defendants were competitors, and factually insufficient because the conduct they do cite “just as

17   easily suggest[s] rational, legal business behavior by the defendants” In re Musical Instruments,

18   798 F. 3d at 1194. Taking the claims together does not solve these basic flaws.

19           C.       Flannery Lacks Antitrust Standing

20                    1.       Flannery Does Not Establish Antitrust Injury to Competition

21           Flannery’s injuries are not the type antitrust laws are intended to forestall. Mot. at 13.

22   Flannery argues that its overcharges are “quintessential” antitrust injuries.4 But this point

23   assumes that the overcharges are borne by purchasers due to price-fixing among competitors in

24   the same market. Am. Ad Mgmt., Inc. v. Gen. Tel. Co. of Cal., 190 F.3d 1051, 1057 (9th Cir.

25   1999)(Antitrust injury requires that “injured party be a participant in the same market as the

26   alleged malefactors.”) (citation omitted). Flannery fails to identify any authority construing

27   landowners as competitors or engaged in trade or commerce simply by responding to Flannery’s

28
     4 Flannery fails to cite to any authority that lost profits constitute “quintessential” antitrust injuries.



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 1   solicitations. Because Defendants are not competitors in selling (or opting not to sell) their land,

 2   their actions cannot give rise to antitrust injury.5

 3                    2.      Flannery Has No Direct Damages Based On Price-Fixing Agreement

 4           The Opposition misses the crux of the “directness” inquiry, which is whether it is

 5   plausible that Flannery will establish “not a mere causal link, but a direct effect” on prices due to

 6   Defendants’ alleged conduct. City of Pittsburgh v. W. Penn Power Co., 147 F.3d 256, 268 (3d

 7   Cir. 1998) (citation omitted); Yellow Pages Cost Consultants, Inc. v. GTE Directories Corp., 951

 8   F.2d 1158, 1162 (9th Cir. 1991) (“Directness in the antitrust context means ‘close in the chain of

 9   causation.’”) (citations omitted).

10           Because Flannery purchased land from some Defendants, Flannery presumes, without

11   substantive analysis, the ultimate legal facts that Defendants irrevocably sought to sell their land

12   in the first instance and Flannery thus incurred overcharges as a result of collusion. Flannery fails

13   to address that Defendants’ demand for supracompetitive prices or refusal to sell may be readily

14   explained by the undisputed fact that Defendants were not actively looking to sell and therefore

15   were not motivated sellers. Defendants may have had myriad other non-economic reasons for

16   their decision not to sell their land: the lack of transparency regarding who or what Flannery is

17   and its intentions deterred sales or warranted a premium; Flannery’s own aggressive tactics

18   indicating the land is more valuable than previously thought so Defendants negotiated

19   accordingly; and the present high-profile litigation, itself, could deter landowners from engaging

20   with Flannery or else risk a lawsuit.

21                    3.      Flannery’s Damages Are Inherently Speculative

22           Flannery also misconstrues the test for whether damages are too speculative to establish

23   standing. The central questions are whether: “(1) the alleged injury was indirect; and (2) ‘the

24   alleged effects ... may have been produced by independent factors.’” Am. Ad Mgmt., 190 F.3d at

25
     5 Notably, “the proper focus [of antitrust injury] is on whether the [Plaintiff’s] injuries flow from a

26   decrease in competition among producers.” City of Oakland v. Oakland Raiders, 20 F.4th 441, 457 (9th
     Cir. 2021). This case concerns a finite amount of land owned by Defendants. Defendants therefore cannot
27   reasonably be considered “producers” nor are they capable of creating the type of overcharges the
     Sherman Act was intended to address; i.e., through restriction of output. Id. at 458 (“Producers restrict
28   output and raise prices, and consumers—direct purchasers from the cartel—pay an overcharge (a
     supracompetitive price) to purchase the producers' goods or services.”).

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 1   1059 (citations omitted). “Once it becomes clear—especially early in the litigation—that damage

 2   measurements will be unduly speculative, the courts generally dismiss the damage suit.” City of

 3   Oakland, 20 F.4th 441, 460–61 (9th Cir. 2021) (citation omitted).

 4           It is clear at this early stage in litigation that any damages measurements are inherently

 5   and unduly speculative. Family-owned real estate is unlike typical goods. Flannery’s alleged

 6   damages are purely speculative to the extent they presume that any non-selling Defendant would

 7   have sold their land at some unspecified price-point.6 Similarly, Flannery’s claim that it was

 8   forced to pay a premium based on a price-fixing conspiracy by motivated sellers, as opposed to it

 9   offering a premium to bring disinterested parties to the table, is speculation. Flannery’s damages

10   are too speculative as a matter of law to survive a motion to dismiss.

11           D.      The Allegations Against Certain Defendants are Insufficient Under Twombly

12           The Complaint contains no factual allegations against certain individual Defendants.7

13   Mot. at 18. These defendants should be dismissed. Iqbal requires that a plaintiff make a

14   “plausible claim for relief.” In re Cathode Ray Tube (CRT) Antitrust Litig., 738 F. Supp. 2d

15   1011, 1017 (N.D. Cal. 2010). “Plausible” means “more than the mere possibility of misconduct.”

16   Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). “A claim has facial plausibility when the plaintiff

17   pleads factual content that allows the court to draw the reasonable inference that the defendant is

18   liable for the misconduct alleged.” Id. at 663 (citing Twombly, 550 U.S. at 570) (emphasis

19   added). Yet Flannery has alleged no “factual content” that allows this Court to make a

20   “reasonable inference” that these defendants consciously joined and played a role in a price

21   fixing conspiracy. Twombly, 550 U.S. at 556; In re TFT-LCD Antitrust Litig., 586 F. Supp. 2d

22   1109, 1117 (N.D. Cal. 2008) (complaint must allege “each individual defendant joined the

23   conspiracy and played some role in it because, at the heart of an antitrust conspiracy is an

24
     6 Flannery’s attempt to distinguish City of Oakland’s holding that non-purchaser damages are inherently
25
     speculative also fails. Despite Flannery’s conclusory assertion of “overcharges paid to Conspirators and
26   third parties, as well as lost profits resulting from the inability to complete prospective purchases,” (Opp.
     at 17). Flannery cannot explain how it comes to that conclusion, or how an expert might support the
27   conclusion, that these alleged overcharges or refusals to deal did not arise from independent factors.
     7 William Dietrich, Paul Dietrich, John Alsop, Nancy Roberts, Ronald Gurule, Ned Anderson, either Neil
28   Anderson (both), Maryn Anderson, Glenn Anderson, Janet Blegen, Robert Anderson, Stan Anderson,
     Lynne Mahre, Sharon Totman, Amber Bauman, Christopher Wycoff, and Janet Zanardi.

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 1   agreement and a conscious decision by each defendant to join it.”) (citation omitted).8

 2           Flannery inappropriately relies on specific paragraph numbers (Opp. at 20) along with the

 3   contention that the complaint, taken as a whole, plausibly alleges each Defendant’s participation.

 4   Flannery’s citations inappropriately rely on artificially lumping defendants together, such as the

 5   “Anderson defendants.” These are separate persons with independent legal interests. Flannery

 6   does not reasonably allege that these individuals joined a conspiracy or authorized joining a

 7   conspiracy. Flannery must give “factual content” that ties each individual to the conspiracy. Id.

 8           For example, Flannery cites ¶¶ 219-220 to tie William Dietrich, John Alsop, Janet

 9   Zanardi, Paul Dietrich, and Nancy Roberts to the supposed conspiracy. Yet ¶ 219 alleges that

10   Flannery delivered offers to these “Anderson Defendants.” And ¶ 220 innocuously alleges that

11   Flannery’s unnamed attorney had discussions with Paul and Nancy during which counsel

12   (1) believed they were “de facto speakers” for the group and (2) formed the impression of a

13   “recurring theme” that they would sell only if Ian Anderson sold first. This is far from alleging a

14   covert price-fixing conspiracy. Indeed, there is not even an attempt to sell. Nor does it allege a

15   conscious decision by these defendants to join the conspiracy. Rather, this alleges a feeling that

16   Flannery’s attorney had that two defendants were uncomfortable selling until they saw someone

17   else go first. Kendall v. Visa USA, Inc., 518 F.3d 1042, 1049 (9th Cir. 2008) (“[a]llegations of

18   facts that could just as easily suggest rational, legal business behavior . . . as they could suggest

19   an illegal conspiracy are insufficient to plead a violation of the antitrust laws.”); In re Musical

20   Instruments, 798 F.3d at 1194.

21           Flannery incorrectly relies on SRAM and In re CRT for its argument that it does not have

22   to make detailed, defendant-by-defendant factual allegations. SRAM directly states that Plaintiffs

23   “need to make allegations that plausibly suggest that each Defendant participated in the alleged

24   conspiracy.” In re SRAM Antitrust Litig., 580 F. Supp. 2d 896, 903–04 (N.D. Cal. 2008). While

25   Flannery relies on CRT for the proposition that the complaint should be taken a whole, this is

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27   8 Oddly, Flannery argues that Defendants seek a heightened pleading standard. This is not the case.

     Defendants rely on case law under Rule 8. See Flores v. EMC Mortg. Co., 997 F. Supp. 2d 1088, 1103
28   (E.D. Cal. 2014) (to satisfy Rule 8, a complaint must “distinguish adequately claims and alleged wrongs
     among defendants and others” and state facts of “defendants’ specific wrongdoing”).

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 1   stated as applicable in “complex, multinational, conspiracy cases.” In re CRT, 738 F. Supp. 2d at

 2   1018-19.9 There, the highly factual complaints were based upon a grand jury indictment that

 3   detailed a multinational, intricate price fixing conspiracy, hundreds of meetings between

 4   competitors, joint ventures and defendants’ high market concentration. Here, Defendants are

 5   individuals all located in one county. The scant facts alleged of conversations with its agents, or

 6   between the numerous individual landowners, their neighbors and families, and in some cases,

 7   no alleged discussions at all (e.g., William Dietrich and Janet Zanardi) do not remotely compare

 8   to these cases. In re CRT, 738 F. Supp. 2d at 1017 (“[A]n allegation of parallel conduct and a

 9   bare assertion of conspiracy will not suffice.”) (citation omitted).

10           E.       Defendants Acting on Behalf of LLCs/Trusts Cannot be Sued Personally

11           Defendants’ brief explained that Defendants, acting on behalf of an entity, cannot be

12   personally liable unless Flannery pierces the veil of the entity or provides some factual

13   allegations to disregard the trust or corporate entity. Iqbal, 556 U.S. at 678 (citing Twombly, 550

14   U.S. at 555); Mot. at 17. Without legal support, Flannery simply maintains that its conclusory

15   allegations of a conspiracy is sufficient. This position should be rejected.

16           F.       The Cartwright Act and UCL Claims Falter with the Sherman Act Claim

17           Defendants’ brief explained that where Flannery’s Sherman Act claim fails, the

18   accompanying California Cartwright Act claim and UCL Claims (dependent on the same alleged

19   conduct) must also fail. Mot. at 19. Flannery does not meaningfully contend otherwise.10

20   III.    CONCLUSION

21           For the numerous reasons cited above, the motion should be granted. Leave to amend

22   should be rejected as Flannery has not offered additional facts. See Deutsch v. Turner Corp., 324 F.3d

23   692, 718 (9th Cir. 2003) (leave to amend is futile if plaintiff does not identify additional facts to plead); In

24   re Silicon Graphics, Inc. Secs. Litig., 183 F.3d 970, 991 (9th Cir. 1999) (same).

25

26   9 Flannery similarly relies on Soo Park v. Thompson, 851 F.3d 910 (9th Cir. 2017) but Soo Park was not a

27   multidefendant antitrust action but rather a 1983 action.
     10
       Opp. at 20 (Persian Gulf Inc. v. BP W. Coast Prods. LLC, 324 F. Supp. 3d 1142, 1156–57 (S.D. Cal.
28   2018) “the analysis under the Cartwright Act is identical to that under the Sherman Act.” (citation
     omitted)).

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 1                                           ATTESTATION

 2          I, Allison A. Davis, attest that for all conformed signatures indicated by a “/s/,” the

 3   signatory has concurred in the filing of this document.

 4

 5   DATED: August 4, 2023                                 s/ Allison A. Davis
                                                           Allison A. Davis
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